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                                                            Gulf Coast Asphalt Company
                                                           Consolidated Income Statement

                                                            January 31, 2017                                      One Month Ended January 31, 2017
                                                 GCAC         GCAC Crude                                           GCAC      GCAC Crude
                                     GCAC       Holdings       Gathering       AG Bullet   Total       GCAC       Holdings    Gathering    AG Bullet        Total
Revenues

Trading Sales                                                                                      0                                                                0

Joint Venture Profits                -824,970                                              -824,970                                                                 0
Asphalt Truck Rack                   539,177                                                539,177                                                                 0
Interest Income                        8,683                                                  8,683                                                                 0
Gain on Sale of Asset                                                                             0                                                                 0
Misc Income                            4,750                                                  4,750                                                                 0
Net Revenues                         -272,360                           0                  -272,360           0          0           0                              0

Cost of Sales
Freight Expense Ship/Barge               594                                                   594                                                                  0
Freight Expense Trucks                                                                           0                                                                  0
Purchase Crude                                                                                   0                                                                  0
Purchases Asphalts                    539,177                                              539,177                                                                  0
Purchases VTB'S                                                                                  0                                                                  0
Total Cost of Sales                   539,771                           0                  539,771            0                      0                              0

Gross Profit                         -812,131                           0                  -812,131           0          0           0                              0

Operating Expenses
Insurance - Other                       6,976                                                6,976                                                                  0
Dock Watch                              5,120                                                5,120                                                                  0
Inspection /Analysis Expense           16,722                                               16,722                                                                  0
Lab Expense                            11,469                                               11,469                                                                  0
Natural Gas                            14,619                                               14,619                                                                  0
Tank Expense                          139,605                                              139,605                                                                  0
Total Operating Expenses              194,511                           0                  194,511            0                      0                              0

General & Administrative Expenses
Airplane Maintainence                                                                                                                                           0
Airplane Cleaning                                                                                                                                               0
Airplane Fees                                                                                                                                                   0
                                                                                                                                                     VITOL    EXHIBIT




                                                                                                                                                                             exhibitsticker.com
Airplane Jet Fuel                                                                                                                                               0


                                                                                                                                                        81-175
                                                                                                                                                  Adv. No.: 21-06006 8/30/2022
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Airplane Hanger Rent                                                                                                  0
Flight Training                                                                                                       0
Salaries and Wages                           85,768                               85,768                              0
Salaries Bonuses                                                                                                      0
401K Company Contribution                     5,308                                5,308                              0
Payroll Taxes                                 7,013                                7,013                              0
Insurance - Health G&A                       21,193                               21,193                              0
Insurance-Group Term Life                     1,109                                1,109                              0
Insurance Other                                                        3,769       3,769                              0
Auto Expense                                  2,701                                2,701                              0
Business Promotion                           17,191                               17,191                              0
Bad Debt                                                                                                              0
Bank Fees                                       841                                  841                              0
Depreciation                                                                                                          0
Donations                                                                                                             0
Dues & Subscriptions                         10,792                               10,792                              0
Goodwill Amortization                                                                                                 0
Interest Expense                                                                                                      0
Licenses, Fees & Permits                          1                                    1                              0
Office Supplies and Expense                     741                                  741                              0
Computer Expense                              1,910                                1,910                              0
Postage                                                                                                               0
Professional Services                        15,186                               15,186                              0
Outside Services                              4,313                                4,313                              0
Rental                                        1,685                                1,685                              0
Sundry                                          304                    -100          204                              0
Taxes Other                                                                                                           0
Telephone                                     2,544                                2,544                              0
Travel & Lodging                             24,583                               24,583                              0
Meals & Entertainment                         4,926                                4,926                              0
Total General & Administrative Expenses     208,109     0       0      3,669     211,778       0       0      0   0   0

Other Income (Expense)
Prior Year Adjustment                                                                  0                              0
Unrealized Gain(Loss) on Asset                                                         0                              0
Total Other Income (Expense)                      0     0                              0       0       0              0

Income Before Taxes                       -1,214,751    0       0     -3,669   -1,218,420      0       0      0   0   0
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                                                           Gulf Coast Asphalt Company
                                                          Consolidated Income Statement

                                                           February 28, 2017                                       Two Months Ended Febuary 28, 2017
                                                GCAC         GCAC Crude                                            GCAC          GCAC Crude
                                    GCAC       Holdings       Gathering        AG Bullet   Total       GCAC       Holdings        Gathering   AG Bullet   Total
Revenues

Trading Sales                                                                                      0                                                              0

Joint Venture Profits                 -2,846                                                 -2,846    -827,816                                           -827,816
Asphalt Truck Rack                  302,953                                                 302,953    842,129                                             842,129
Interest Income                       8,683                                                   8,683     17,367                                              17,367
Gain on Sale of Asset                                                                             0                                                              0
Misc Income                             900                                                     900      5,650                                               5,650
Net Revenues                         309,690                            0                   309,690      37,330              0            0                 37,330

Cost of Sales
Freight Expense Ship/Barge              430                                                     430       1,024                                              1,024
Freight Expense Trucks                                                                            0                                                              0
Purchase Crude                                                                                    0                                                              0
Purchases Asphalts                   302,953                                                302,953     842,129                                            842,129
Purchases VTB'S                                                                                   0                                                              0
Total Cost of Sales                  303,383                            0                   303,383     843,153                           0                843,153

Gross Profit                           6,307                            0                     6,307    -805,823              0            0               -805,823

Operating Expenses
Insurance - Other                      6,976                                                  6,976      13,952                                             13,952
Dock Watch                            10,302                                                 10,302      15,422                                             15,422
Inspection /Analysis Expense          17,687                                                 17,687      34,409                                             34,409
Lab Expense                           26,558                                                 26,558      38,027                                             38,027
Natural Gas                                                                                       0      14,620                                             14,620
Tank Expense                         139,655                                                139,655     279,260                                            279,260
Total Operating Expenses             201,178                            0                   201,178     395,690                           0                395,690

General & Administrative Expenses
Airplane Maintainence                                                                                                                                            0
Airplane Cleaning                                                                                                                                                0
Airplane Fees                                                                                                                                                    0
Airplane Jet Fuel                                                                                                                                                0
Airplane Hanger Rent                                                                                                                                             0
Flight Training                                                                                                                                                  0
Salaries and Wages                    88,639                                                 88,639     174,406                                            174,406
Salaries Bonuses                                                                                                                                                 0
401K Company Contribution              3,078                                                  3,078       8,387                                              8,387
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Payroll Taxes                               6,971                              6,971       13,984                                  13,984
Insurance - Health G&A                     23,624                             23,624       44,817                                  44,817
Insurance-Group Term Life                   1,109                              1,109        2,218                                   2,218
Insurance Other                                                                    0                                   3,769        3,769
Auto Expense                                2,574                              2,574        5,274                                   5,274
Business Promotion                         20,898                             20,898       38,089                                  38,089
Bad Debt                                                                                                                                0
Bank Fees                                     968                               968         1,809                                   1,809
Depreciation                                                                                                                            0
Donations                                   6,115                                           6,115                                   6,115
Dues & Subscriptions                        4,905                              4,905       15,697                                  15,697
Goodwill Amortization                                                                                                                   0
Interest Expense                                                                                                                        0
Licenses, Fees & Permits                                                          0             1                                       1
Office Supplies and Expense                   102                               102           843                                     843
Computer Expense                              966                               966         2,877                                   2,877
Postage                                                                                                                                 0
Professional Services                      11,977           1,075             13,052       27,163             1,075                28,238
Outside Services                           18,797                             18,797       23,110                                  23,110
Rental                                      1,993                              1,993        3,678                                   3,678
Sundry                                        764                                764        1,068                       -100          968
Taxes Other                                   371                                371          371                                     371
Telephone                                   2,524                              2,524        5,069                                   5,069
Travel & Lodging                           35,700                             35,700       60,283                                  60,283
Meals & Entertainment                       7,311                              7,311       12,237                                  12,237
Total General & Administrative Expenses   239,386     0     1,075      0     234,346      447,496    0        1,075    3,669      452,240

Other Income (Expense)
Prior Year Adjustment                                                             0                                                     0
Unrealized Gain(Loss) on Asset                                                    0                                                     0
Total Other Income (Expense)                    0     0                           0             0    0                                  0

Income Before Taxes                       -434,257    0     -1,075     0    -429,217    -1,649,009   0        -1,075   -3,669   -1,653,753
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                                                           Gulf Coast Asphalt Company
                                                          Consolidated Income Statement

                                                            March 31, 2017                                          Three Months Ended March 31, 2017
                                                GCAC          GCAC Crude                                            GCAC          GCAC Crude
                                    GCAC       Holdings        Gathering     AG Bullet    Total        GCAC        Holdings        Gathering   AG Bullet    Total
Revenues

Trading Sales                                                                                     0                                                                 0

Joint Venture Profits                120,784                                              120,784      -707,032                                            -707,032
Asphalt Truck Rack                  295,186                                               295,186     1,137,316                                            1,137,316
Interest Income                       8,683                                                 8,683        26,050                                               26,050
Gain on Sale of Asset                                                                           0                                                                  0
Misc Income                                                                                     0         5,650                                                5,650
Net Revenues                         424,653                           0                  424,653       461,984               0            0                 461,984

Cost of Sales
Freight Expense Ship/Barge                                                                      0         1,024                                                1,024
Freight Expense Trucks                                                                          0                                                                  0
Purchase Crude                                                                                  0                                                                  0
Purchases Asphalts                   295,186                                              295,186      1,137,316                                           1,137,316
Purchases VTB'S                                                                                 0                                                                  0
Total Cost of Sales                  295,186                           0                  295,186      1,138,340                           0               1,138,340

Gross Profit                         129,467                           0                  129,467      -676,356               0            0               -676,356

Operating Expenses
Insurance - Other                      6,976                                                6,976        20,928                                              20,928
Dock Watch                            11,242                                               11,242        26,664                                              26,664
Inspection /Analysis Expense          13,164                                               13,164        47,572                                              47,572
Lab Expense                           25,364                                               25,364        63,391                                              63,391
Natural Gas                            6,068                                                6,068        20,688                                              20,688
Tank Expense                         139,605                                              139,605       418,865                                             418,865
Total Operating Expenses             202,419                           0                  202,419       598,108                            0                598,108

General & Administrative Expenses
Airplane Maintainence                                                                                                                                               0
Airplane Cleaning                                                                                                                                                   0
Airplane Fees                                                                                                                                                       0
Airplane Jet Fuel                                                                                                                                                   0
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Airplane Hanger Rent                                                                                                                    0
Flight Training                                                                                                                         0
Salaries and Wages                         132,708                           132,708      307,114                                 307,114
Salaries Bonuses                                                                                                                        0
401K Company Contribution                    4,824                             4,824       13,211                                  13,211
Payroll Taxes                               10,251                            10,251       24,234                                  24,234
Insurance - Health G&A                      23,272                            23,272       68,089                                  68,089
Insurance-Group Term Life                    1,369                             1,369        3,588                                   3,588
Insurance Other                                                                    0                                   3,769        3,769
Auto Expense                                 2,752                             2,752        8,027                                   8,027
Business Promotion                          31,037                            31,037       69,126                                  69,126
Bad Debt                                                                                                                                0
Bank Fees                                      832                               832        2,641                                   2,641
Commissions                                 15,100                            15,100       15,100                                  15,100
Depreciation                                                                                                                            0
Donations                                      150                                          6,265                                   6,265
Dues & Subscriptions                        16,318                            16,318       32,015                                  32,015
Goodwill Amortization                                                                                                                   0
Interest Expense                                                                                                                        0
Licenses, Fees & Permits                                                           0            1                                       1
Office Supplies and Expense                    468                               468        1,311                                   1,311
Computer Expense                             4,905                             4,905        7,782                                   7,782
Postage                                                                                                                                 0
Professional Services                       15,106                            15,106       42,270             1,075                43,345
Outside Services                            13,698                            13,698       36,808                                  36,808
Rental                                       1,982                             1,982        5,660                                   5,660
Sundry                                      22,374                            22,374       23,441                       -100       23,341
Taxes Other                                  1,798                     745     2,543        2,169                        745        2,914
Telephone                                    7,348                             7,348       12,416                                  12,416
Travel & Lodging                            12,017                            12,017       72,301                                  72,301
Meals & Entertainment                        9,371                             9,371       21,608                                  21,608
Total General & Administrative Expenses    327,680     0        0      745   328,275      775,177     0       1,075    4,414      780,666

Other Income (Expense)
Prior Year Adjustment                                                              0                                                    0
Unrealized Gain(Loss) on Asset                                                     0                                                    0
Total Other Income (Expense)                     0     0                           0            0     0                                 0

Income Before Taxes                        -400,632    0        0     -745   -401,227   -2,049,641    0       -1,075   -4,414   -2,055,130
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                                                           Gulf Coast Asphalt Company
                                                          Consolidated Income Statement

                                                             April 30, 2017                                          Four Months Ended April 30, 2017
                                                GCAC         GCAC Crude                                             GCAC          GCAC Crude
                                    GCAC       Holdings       Gathering       AG Bullet   Total        GCAC        Holdings        Gathering   AG Bullet    Total
Revenues

Trading Sales                                                                                     0                                                                 0

Joint Venture Profits                 24,917                                               24,917      -682,116                                            -682,116
Asphalt Truck Rack                  525,816                                               525,816     1,663,132                                            1,663,132
Interest Income                       8,683                                                 8,683        34,734                                               34,734
Gain on Sale of Asset                                                                           0                                                                  0
Misc Income                                                                                     0         5,650                                                5,650
Net Revenues                         559,416                             0                559,416      1,021,400              0            0               1,021,400

Cost of Sales
Freight Expense Ship/Barge                                                                      0          1,024                                               1,024
Freight Expense Trucks                   660                                                  660            660                                                 660
Purchase Crude                       525,816                                              525,816      1,663,132                                           1,663,132
Purchases Asphalts                                                                              0                                                                  0
Purchases VTB'S                                                                                 0                                                                  0
Total Cost of Sales                  526,476                             0                526,476      1,664,816                           0               1,664,816

Gross Profit                          32,940                             0                 32,940      -643,416               0            0               -643,416

Operating Expenses
Insurance - Other                      6,976                                                6,976        27,904                                              27,904
Dock Watch                            13,041                                               13,041        39,705                                              39,705
Inspection /Analysis Expense           9,803                                                9,803        57,375                                              57,375
Lab Expense                           10,875                                               10,875        74,266                                              74,266
Natural Gas                           10,692                                               10,692        31,380                                              31,380
Tank Expense                         139,605                                              139,605       558,470                                             558,470
Total Operating Expenses             190,992                             0                190,992       789,100                            0                789,100

General & Administrative Expenses
Airplane Maintainence                                                                                                                                               0
Airplane Cleaning                                                                                                                                                   0
Airplane Fees                                                                                                                                                       0
Airplane Jet Fuel                                                                                                                                                   0
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Airplane Hanger Rent                                                                                                                    0
Flight Training                                                                                                                         0
Salaries and Wages                         129,254                            129,254      436,368                                436,368
Salaries Bonuses                             8,000                              8,000        8,000                                  8,000
401K Company Contribution                    3,917                              3,917       17,127                                 17,127
Payroll Taxes                               10,000                             10,000       34,234                                 34,234
Insurance - Health G&A                      23,272                             23,272       91,361                                 91,361
Insurance-Group Term Life                    1,239                              1,239        4,827                                  4,827
Insurance Other                                                                     0                                  3,769        3,769
Auto Expense                                 3,688                              3,688       11,715                                 11,715
Business Promotion                          54,662                             54,662      123,788                                123,788
Bad Debt                                                                                                                                0
Bank Fees                                    1,018                              1,018        3,659                                  3,659
Commissions                                                                         0       15,100                                 15,100
Depreciation                                                                                                                            0
Donations                                    2,133                              2,133        8,398                                  8,398
Dues & Subscriptions                         3,031                              3,031       35,046                                 35,046
Goodwill Amortization                                                                                                                   0
Interest Expense                                                                                                                        0
Licenses, Fees & Permits                         2                                  2            3                                      3
Office Supplies and Expense                  1,547                              1,547        2,858                                  2,858
Computer Expense                             1,079                              1,079        8,861                                  8,861
Postage                                                                                                                                 0
Professional Services                        4,732                              4,732        47,002           1,075                48,077
Outside Services                            13,693                             13,693        50,502                                50,502
Rental                                       1,892                              1,892         7,552                                 7,552
Sundry                                      22,528                             22,528        45,970                     -100       45,870
Taxes Other                                                                         0         2,169                      745        2,914
Telephone                                    2,381                              2,381        14,798                                14,798
Travel & Lodging                            30,872                             30,872       103,172                               103,172
Meals & Entertainment                        8,340                              8,340        29,947                                29,947
Total General & Administrative Expenses    327,280     0        0        0    327,280     1,102,457   0       1,075    4,414    1,107,946

Other Income (Expense)
Prior Year Adjustment                                                              0                                                    0
Unrealized Gain(Loss) on Asset                                                     0                                                    0
Total Other Income (Expense)                     0     0                           0             0    0                                 0

Income Before Taxes                        -485,332    0        0        0   -485,332    -2,534,973   0       -1,075   -4,414   -2,540,462
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                                                           Gulf Coast Asphalt Company
                                                          Consolidated Income Statement

                                                             May 31, 2017                                             Five Months Ended May 31, 2017
                                                GCAC         GCAC Crude                                            GCAC          GCAC Crude
                                    GCAC       Holdings       Gathering       AG Bullet   Total       GCAC        Holdings        Gathering     AG Bullet   Total
Revenues

Trading Sales                                                                                     0                                                                 0

Joint Venture Profits                -18,896                                               -18,896     -701,012                                             -701,012
Asphalt Truck Rack                  490,817                                                490,817    2,153,949                                             2,153,949
Interest Income                       8,683                                                  8,683       43,417                                                43,417
Gain on Sale of Asset                                                                            0                                                                  0
Misc Income                           2,429                                                  2,429       8,079                                                  8,079
Net Revenues                         483,033                           0                   483,033    1,504,433              0            0                 1,504,433

Cost of Sales
Freight Expense Ship/Barge                                                                       0        1,024                                                 1,024
Freight Expense Trucks                                                                           0          660                                                   660
Purchase Crude                                                                                   0                                                                  0
Purchases Asphalts                   490,817                                               490,817    2,153,949                                             2,153,949
Purchases VTB'S                                                                                  0                                                                  0
Total Cost of Sales                  490,817                           0                   490,817    2,155,633                           0                 2,155,633

Gross Profit                          -7,784                           0                    -7,784     -651,200              0            0                 -651,200

Operating Expenses
Insurance - Other                      6,976                                                 6,976       34,880                                               34,880
Dock Watch                            11,386                                                11,386       51,091                                               51,091
Inspection /Analysis Expense          21,483                                                21,483       78,859                                               78,859
Lab Expense                            9,951                                                 9,951       84,217                                               84,217
Natural Gas                           10,189                                                10,189       41,568                                               41,568
Tank Expense                         139,605                                               139,605      698,075                                              698,075
Total Operating Expenses             199,590                           0                   199,590      988,690                           0                  988,690

General & Administrative Expenses
Airplane Maintainence                                                                                                                                              0
Airplane Cleaning                                                                                                                                                  0
Airplane Fees                                                                                                                                                      0
Airplane Jet Fuel                                                                                                                                                  0
Airplane Hanger Rent                                                                                                                                               0
Flight Training                                                                                                                                                    0
Salaries and Wages                   132,215                                               132,215      568,583                                              568,583
Salaries Bonuses                       8,000                                                 8,000       16,000                                               16,000
401K Company Contribution              5,128                                                 5,128       22,255                                               22,255
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Payroll Taxes                              10,304                             10,304        44,538                                  44,538
Insurance - Health G&A                     23,477                             23,477       114,838                                 114,838
Insurance-Group Term Life                   1,239                              1,239         6,067                                   6,067
Insurance Other                                                                    0                                    3,769        3,769
Auto Expense                                2,795                              2,795        14,510                                  14,510
Business Promotion                                                                 0       123,788                                 123,788
Bad Debt                                                                                                                                 0
Bank Fees                                     783                                783         4,442                                   4,442
Commissions                                                                        0        15,100                                  15,100
Depreciation                                                                                                                             0
Donations                                                                          0         8,398                                   8,398
Dues & Subscriptions                        1,213                              1,213        36,259                                  36,259
Goodwill Amortization                                                                                                                    0
Interest Expense                           10,037                                           10,037                                  10,037
Licenses, Fees & Permits                                                           0             3                                       3
Office Supplies and Expense                 1,325                              1,325         4,183                                   4,183
Computer Expense                            2,607                              2,607        11,468                                  11,468
Postage                                                                                                                                  0
Professional Services                      10,002                             10,002        57,004             1,075                58,079
Outside Services                           11,082                             11,082        61,583                                  61,583
Rental                                      9,355                              9,355        16,907                                  16,907
Sundry                                        770                                770        46,740                       -100       46,640
Taxes Other                                53,375                             53,375        55,544                        745       56,289
Telephone                                     262                                262        15,060                                  15,060
Travel & Lodging                            7,700                              7,700       110,872                                 110,872
Meals & Entertainment                       4,043                              4,043        33,990                                  33,990
Total General & Administrative Expenses   295,712     0        0        0    285,675     1,398,169    0        1,075    4,414    1,403,658

Other Income (Expense)
Prior Year Adjustment                                                              0                                                     0
Unrealized Gain(Loss) on Asset                                                     0                                                     0
Total Other Income (Expense)                    0     0                            0             0    0                                  0

Income Before Taxes                       -503,086    0        0        0    -493,049    -3,038,059   0        -1,075   -4,414   -3,043,548
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                                                            Gulf Coast Asphalt Company
                                                           Consolidated Income Statement

                                                              June 30, 2017                                            Six Months Ended June 30, 2017
                                                 GCAC         GCAC Crude                                            GCAC          GCAC Crude
                                    GCAC        Holdings       Gathering       AG Bullet   Total       GCAC        Holdings        Gathering     AG Bullet   Total
Revenues

Trading Sales                                                                                      0                                                                 0

Joint Venture Profits                408,600                                                408,600     -292,412                                             -292,412
Asphalt Truck Rack                  944,053                                                  944,053   3,098,002                                             3,098,002
Interest Income                       8,683                                                    8,683      52,100                                                52,100
Gain on Sale of Asset                                                                              0                                                                 0
Misc Income                                                                                        0      8,078                                                  8,078
Net Revenues                        1,361,336                            0                 1,361,336   2,865,768              0             0                2,865,768

Cost of Sales
Freight Expense Ship/Barge                                         264,016                   264,016       1,024                      264,016                  265,040
Freight Expense Trucks                                                                             0         660                                                   660
Purchase Crude                                                                                     0                                                                 0
Purchases Asphalts                   944,053                                                 944,053   3,098,002                                             3,098,002
Purchases VTB'S                                                                                    0                                                                 0
Total Cost of Sales                  944,053                       264,016                 1,208,069   3,099,686                      264,016                3,363,702

Gross Profit                         417,283                      -264,016                  153,267     -233,918              0      -264,016                -497,934

Operating Expenses
Insurance - Other                      6,976                                                  6,976       41,856                                                41,856
Dock Watch                             5,891                                                  5,891       56,982                                                56,982
Inspection /Analysis Expense           2,931                                                  2,931       81,790                                                81,790
Lab Expense                            4,075                                                  4,075       88,292                                                88,292
Natural Gas                           10,231                                                 10,231       51,799                                                51,799
Tank Expense                         139,605                                                139,605      837,680                                               837,680
Total Operating Expenses             169,709                             0                  169,709    1,158,399                            0                1,158,399

General & Administrative Expenses
Airplane Maintainence                                                                                                                                               0
Airplane Cleaning                                                                                                                                                   0
Airplane Fees                                                                                                                                                       0
Airplane Jet Fuel                                                                                                                                                   0
Airplane Hanger Rent                                                                                                                                                0
Flight Training                                                                                                                                                     0
Salaries and Wages                   118,754                                                118,754      687,337                                              687,337
Salaries Bonuses                       8,000                                                  8,000       24,000                                               24,000
401K Company Contribution              5,153                                                  5,153       27,409                                               27,409
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Payroll Taxes                               9,150                                9,150       53,689                                53,689
Insurance - Health G&A                     23,612                               23,612      138,450                               138,450
Insurance-Group Term Life                     985                                  985        7,052                                 7,052
Insurance Other                                                       -1,885    -1,885                                 1,885        1,885
Auto Expense                                3,558                                3,558       18,067                                18,067
Business Promotion                                                                   0      123,788                               123,788
Bad Debt                                                                                                                                0
Bank Fees                                    848                                   848        5,290                                 5,290
Commissions                                                                          0       15,100                                15,100
Depreciation                                                                                                                            0
Donations                                                                            0        8,398                                 8,398
Dues & Subscriptions                        5,408                                5,408       41,668                                41,668
Goodwill Amortization                                                                                                                   0
Interest Expense                            8,558                                            18,594                                18,594
Licenses, Fees & Permits                                                             0            3                                     3
Office Supplies and Expense                 1,452                                1,452        5,635                                 5,635
Computer Expense                           11,926                               11,926       23,394                                23,394
Postage                                                                                                                                 0
Professional Services                      17,228                               17,228       74,232            1,075               75,307
Outside Services                           14,365                               14,365       75,948                                75,948
Rental                                                                               0       16,906                                16,906
Sundry                                        784                                  784       47,524                     -100       47,424
Taxes Other                                    50                        41         91       55,594                      786       56,380
Telephone                                   3,544                                3,544       18,604                                18,604
Travel & Lodging                           16,107                               16,107      126,979                               126,979
Meals & Entertainment                       5,887                                5,887       39,877                                39,877
Total General & Administrative Expenses   255,369     0          0    -1,844   244,967    1,653,538    0       1,075   2,571    1,657,184

Other Income (Expense)
Prior Year Adjustment                                                                0                                                  0
Unrealized Gain(Loss) on Asset                                                       0                                                  0
Total Other Income (Expense)                   0      0                              0            0    0                                0

Income Before Taxes                        -7,795     0    -264,016   1,844    -261,409   -3,045,855   0   -265,091    -2,571   -3,313,517
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                                                               Gulf Coast Asphalt Company
                                                              Consolidated Income Statement

                                                     Twelve Months Ended December 31, 2017
                                                    GCAC          GCAC Crude
                                      GCAC         Holdings        Gathering        AG Bullet        Total
Revenues

Trading Sales                         28,323,729                                                     28,323,729

Joint Venture Profits                   531,414                                                        531,414
Asphalt Truck Rack                    8,184,508                                                       8,184,508
Interest Income                          99,693                                                          99,693
Gain on Sale of Asset                   397,508                                                         397,508
Misc Income                               8,436                                                           8,436
Net Revenues                          37,545,288                               0                     37,545,288

Cost of Sales
Freight Expense Ship/Barge             2,728,028                       267,687                        2,995,715
Freight Expense Trucks                    10,299                                                         10,299
Purchases Hedges                       6,431,730                                                      6,431,730
Purchase Polymers                        142,463                                                        142,463
Purchases Asphalts                     7,468,559                                                      7,468,559
Purchases VTB'S                       22,200,697                                                     22,200,697
Total Cost of Sales                   38,981,776                       267,687                       39,249,463

Gross Profit                          -1,436,488                       -267,687                      -1,704,175

Operating Expenses
Insurance - Other                         88,170                                                         88,170
Dock Watch                                92,092                                                         92,092
Inspection /Analysis Expense Mobile      243,944                                                        243,944
Inspection /Analysis Expense Corpus       22,127                                                         22,127
Lab Expense                              124,109                                                        124,109
Natural Gas                              118,067                                                        118,067
Tank Expense Mobile                    1,675,360                                                      1,675,360
Tank Expense Corpus                    2,155,563                                                      2,155,563
Take or Pay Corpus                       454,563                                                        454,563
Total Operating Expenses               4,973,995                               0                      4,973,995

General & Administrative Expenses
Salaries and Wages                     1,655,067                                                      1,655,067
Salaries Bonuses                         279,000                                                        279,000
401K Company Contribution                 58,113                                                         58,113
Payroll Taxes                            109,121                                                        109,121
Insurance - Health G&A                   278,174                                                        278,174
Insurance-Group Term Life                 14,781                                                         14,781
Insurance Other                                                                              1,884        1,884
Auto Expense                             37,937                                                661       38,598
Business Promotion                      249,409                                                         249,409
Bad Debt
Bank Fees                                 9,701                                                          9,701
Commissions                              57,272                                                         57,272
Depreciation
Donations                                13,398                                                         13,398
Dues & Subscriptions                     61,374                                                         61,374
Goodwill Amortization                    50,000                                                         50,000
Interest Expense                        470,301                                                        470,301
Licenses, Fees & Permits                      3                                                              3
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Office Supplies and Expense                   36,624                                36,624
Computer Expense                              36,671                                36,671
Postage
Professional Services                        198,630         23,304                221,934
Outside Services                              83,004                                83,004
Rental                                        16,650                                16,650
Sundry                                        51,312                    -100        51,212
Taxes Other                                   63,393                     519        63,912
Telephone                                     35,498                                35,498
Travel & Lodging                             231,514                               231,514
Meals & Entertainment                         91,381                                91,381
Total General & Administrative Expenses    4,188,328    0    23,304    2,964     4,214,596

Other Income (Expense)
Prior Year Adjustment                                                                    0
Unrealized Gain(Loss) on Asset                                                           0
Total Other Income (Expense)                       0    0                                0

Income Before Taxes                       -10,598,811   0   -290,991   -2,964   -10,892,766
